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                                                                               T'l rrp

                   IN THE UNITED STATES DISTRICT COURT FOR THE


                              EASTERN DISTRICT OF VIRGINIA                       o"     " ' ::i-

                                        Alexandria Division                  - .- - -         "

UNITED STATES OF AMERICA                      )               Criminal No.: 1:19-MJ-
                                                              Misdemeanor



ANTWON T. NASH,                                               Court Date: May 29, 2019

                       Defendant.



                                  CRIMINAL INFORMATION


                         (COUNT I - Class A Misdemeanor - 7140809)

THE UNITED STATES ATTORNEY CHARGES THAT:

       On or about March 26, 2019, at Marine Corps Base, Quantico, Virginia within the special

maritime and territorial jurisdiction ofthe United States in the Eastern District of Virginia, the

defendant, ANTWON T. NASH,did unlawfully go upon a building after having been forbidden

to do so, either orally or in writing, by the owner, lessee, custodian, and the agent ofany such

person.


(Violation of Title 18, United States Code, Section 13, assimilating Virginia Code, Section
18.2-119,1950, as amended)


                                                      Respectfully Submitted,

                                                      G.Zachary Terwilliger
                                                      United States Attorney

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                                                      Evan P. Clark
                                                      Special Assistant United States Attorney
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